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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  ANTHONY WYATT,

                        Petitioner,

         v.                                           Civil action no. 1:05CV30
                                                      Criminal action no. 1:02CR36-2
                                                      (Judge Keeley)

  UNITED STATES OF AMERICA,

                        Respondent.


                             REPORT AND RECOMMENDATION

                                       I. INTRODUCTION

         On February 18, 2005, the pro se petitioner, an inmate at the United States Penitentiary in

  Hazelton, filed a Motion Under 28 U.S.C. §2255 to Vacate, Set Aside or Correct Sentence by a

  Person in Federal Custody in which he alleges that his sentence is unconstitutional in light of

  Blakely v.Washington, 524 U.S. 296 (2004).1 This matter, which is pending before me for initial

  review and report and recommendation pursuant to LR PL P 83.15, is ripe for review.



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          Blakely v. Washington, 542 U.S. 296 (2004) as an extension of Apprendi v. New Jersey,
  530 U.S. 466 (2000), holds that “when a judge inflicts punishment that the jury verdict alone
  does not allow, the jury has not found all the facts which the law makes essential to the
  punishment, and the judge exceeds his proper authority.”
          The Supreme Court has held that Blakely applies to federal sentencing guidelines.
  United States v. Booker, 543 U.S. 220, (2005). Specifically, in Booker, the Supreme Court
  issued a two part decision. In the first part, the Supreme Court held that the mandatory
  sentencing guidelines violated a defendant’s Sixth Amendment right to a jury trial because a
  judge, not a jury, determines facts which could increase the defendant’s sentence beyond the
  sentence which could be imposed based on jury fact finding. In the second part of the decision,
  the Supreme Court severed the unconstitutional provisions from the Sentence Reform Act and
  made the guidelines advisory and established an unreasonableness standard of review for
  sentences on appeal. Thus, the petitioner’s claim is now a Booker claim.
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                                              II. FACTS

  A. Conviction and Sentence

          On September 12, 2002, the petitioner signed a plea agreement in which he agreed to plead

  guilty to Count Fourteen of the Indictment, charging him with distribution of crack cocaine, in

  violation of Title 21, United State Code, §§ 841(a)(1) and 841(b)(1)C). In the plea agreement, the

  parities stipulated to total drug relevant conduct of 240.66 grams of cocaine base and 386.35 grams

  of powder cocaine. Additionally, the petitioner waived his right to appeal and to collaterally attack

  his sentence. On September 12, 2002, the petitioner entered his plea in open court, and on January

  13, 2003, the Court sentenced the petitioner to 168 months imprisonment.

  B. Appeal

          On January 22, 2003, the petitioner filed his notice of appeal. By decision dated October 29,

  2003, the Fourth Circuit dismissed the appeal. The petitioner did not file a petition for writ of

  certiorai.

  C. Federal Habeas Corpus

          The petitioner asserts that the District Court’s application of the federal sentencing

  guidelines, in determining his statutorily mandated sentencing guideline range, violated his Fifth

  Amendment right to due process and his Sixth Amendment right to trial by jury.

  D. Recommendation

          Based upon a review of the record, the undersigned recommends that the petitioner’s § 2255

  motion be denied and dismissed from the Court’s docket.

                                           III. ANALYSIS

          In 1996, the Anti-Terrorism and Effective Death Penalty Act of 1996 [“AEDPA”] was


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  enacted, establishing a one-year limitation period within which to file any federal habeas corpus

  motion. 28 U.S.C. §2255.2

         The limitation period shall run from the last of:

         1.      The date on which the judgment of conviction becomes final;

         2.      The date on which the impediment to making a motion created by governmental
                 action in violation of the Constitution or laws of the United States is removed, if the
                 movant was prevented from making a motion by such governmental action;

         3.      The date on which the right was initially recognized by the Supreme Court, if that
                 right has bee newly recognized by the Supreme Court and made retroactively
                 applicable to cases on collateral review3; or

         4.     The date on which the facts supporting the claim or claims presented could have
                been discovered through the exercise of due diligence.
  28 U.S.C. §2255.

         The undersigned recognizes that pursuant to United States v. Sosa, 364 F.3d 507 (4th Cir.

  2004) and Hill v. Braxton, 277 F.3d 701, 707 (4th Cir. 2002) notice must be given to the petitioner

  that the Court intends to dismiss the motion as being untimely unless the petitioner can demonstrate

  that the motion is timely. However, “Hill leaves open the possibility that district courts could

  dispense with notice if it is ‘indisputably clear’ that the motion is untimely and cannot be salvaged

  through tolling.” Sosa, supra at 511. Here, because the only ground raised by the petitioner in

  support of his motion to vacate, set aside, or correct his sentence, is clearly without merit, the




         2
          The AEDPA applies to those cases filed after April 24, 1996, the effective date of the
  AEDPA. Lindh v. Murphy, 521 U.S. 320 (1997); Breard v. Pruett, 134 F.3d 615 (4th Cir.), cert.
  denied, 523 U.S. 371 (1998).
         3
           The one-year statute of limitation period under this subsection runs from the date on
  which the Supreme Court initially recognized the right asserted, not from the date on which the
  right asserted was made retroactive. Dodd v. United States, ____ U.S. ____, 125 S.Ct. 2478
  (2005).

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  undersigned has proceeded to consider whether the motion is timely without providing the petitioner

  the opportunity to explain the timeliness of his petition.

         In the instant case, the §2255 motion is clearly untimely under subsection 1. When a

  prisoner does not file a petition for writ of certiorai with the United States Supreme Court, the

  judgment of conviction becomes final when the time for seeking such review expires. Clay v.

  United States, 537 U.S. 522 (2003). The Fourth Circuit entered its judgment on October 29, 2003.

  The petitioner had 90 days, or until January 27, 2004, to file a petition for writ of certiorai. The

  petitioner did not file a petition for writ of certiorai. Thus, his conviction became final on January

  27, 2004, and under AEDPA, he had until January 27, 2005, to file a §2255 motion. The petitioner

  did not file his petition until February 18, 2005, after the statute of limitations had expired. Thus,

  the petitioner’s §2255 motion is untimely under subsection 1.

         Because the petitioner does not allege the Government created an impediment to his filing

  a timely §2255 motion or that his motion is based on new facts, subsections 2 and 4 are not

  applicable to this case.

         The Court further finds that subsection 3 does not apply because Booker, has not been made

  retroactively applicable to cases on collateral review. While the Supreme Court did not address the

  retroactivity of Booker, the Fourth Circuit has determined that it does not apply retroactively.4

  Because the petitioner’s conviction became final prior to the issuance of the Booker decision, the

  petitioner is not entitled to have said decision applied retroactively to his sentence and his motion

  should be dismissed.


         4
            The Fourth Circuit Court’s decision in United States v. Morris, 429 F.3d 65 (2005) notes
  that its decision that Booker does not apply retroactively to cases on collateral review, is in
  conformity with nines circuit courts of appeals that have considered the issue.

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         Finally, the undersigned notes that the petitioner filed a Motion to Proceed in Forma

  Pauperis. Inasmuch as there are no filing fees associated with a §2255 motion, the same is moot.

                                     V. RECOMMENDATION

         The undersigned recommends that the Court enter an Order DENYING the petitioner’s

  §2255 motion and DISMISSING the petitioner’s Motion to Proceed in Forma Pauperis.

         Any party may file within ten (10) days after being served with a copy of this

  Recommendation with the Clerk of the Court written objections identifying the portions of the

  Recommendation to which objections are made, and the basis for such objections. A copy of such

  objections should also be submitted to the Honorable Irene Keeley, United States District Judge.

  Failure to timely file objections to the Recommendation set forth above will result in waiver of the

  right to appeal from a judgment of this Court based upon such Recommendation. 28 U.S.C. §

  636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208

  (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

         The Clerk of the Court is directed to provide a copy of this Report and Recommendation to

  the pro se petitioner.

  Dated: March 1, 2006

                                                       /s John S. Kaull
                                                       John S. Kaull
                                                       UNITED STATES MAGISTRATE JUDGE




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